Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 1 of 22




           EXHIBIT A
                           Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 2 of 22
                                                                            2
                                                                        DOCKET NUMBER                        Trial Court of Massachusetts
            CIVIL ACTION COVER SHEET                                                                         The Superior Court
                                                                                                             COUNTY [Suffolk Superior Court (Boston)
    Plaintiff                       Ahmed Elssa                                               Defendant:           L.edvance, LLC
ADDRESS:                            285 3rd Street, Apt. 242                                  ADDRESS:                  200 Ballardvale Street
                                        Cambridge, MA 02142                                                                Wilmington, MA


    Plaintiff Attorney:          Helen G. Litsas, Esquire                                     Defendant:                Karsten Fetten

ADDRESS:                        22 Mill Street, Suite 408                                     ADDRESS:                 3 Parsons Road

                              Arington, MA 02176                                                                     West Newbury, MA



BBO:                       644848

    Plaintiff Attorney:                                                                       Defendant:                Marci Piper

ADDRESS:                                                                                    ADDRESS:                   179 Highland Street

                                                                                                                     South Hamilton, MA



BBO:

    Plaintiff Attorney:                                                                       Defendant:                 Jan Barlow

ADDRESS:                                                                                   ADDRESS:                    200 Ballardvale Street

                                                                                                                     WImlngton, MA


BBO:

                                                 TYPE OF ACTION AND TRACK DESIGNATION (see Instructions section below)
                CODE NO.                             TYPE OF ACTION (specify)                              TRACK              HAS A JURY CLAIM BEEN MADE?
                 B22                                    Employment Discrimination                            r                 []YEs             []NO
If "Othor" pleaso describe:
                                    ls there a claim under G.L. c, 934?                                          Is there a class action under Mass. R, Cly. P, 232
                                        ] Yes           XI   No                                                     [J Yes                o
                                                             STATEMENT OF DAMAGES PURSUANT IO G.L. c. 212, § 3A
The following ls a full, itemized and detailed statement of the facts on which the undersigned plaintiff or plaintiff's counsel relies to determine money damages.
For this form, disregard double or treble damage claims; Indicate single damages only.
                                                                                    TORI CLAIMS
A. Documented medical expenses to date
                 1. Total hospital expenses
                 2. Total doctor expenses                                 RECEIVED
                 3. Total chiropractic expenses
                 4. Total physical therapy expenses                      7/23/2021
                                                                                                      JP
                 5. Total other expenses (describe below)                                                                                                      $10,000.00
                · ·JMedlcal Treatment
                                                                                                             subtotal t-5): $10000.00
                                                                                                                                             I
B. Documented lost wages and compensation to date                                                                                                            $146,515.00
C. Documented property damages to date
D. Reasonably anticipated future medical and hospital expenses                                                                                                 $10,000.00
E. Reasonably anticipated lost wages                                                                                                                         $146,515.00
F. Other documented items of damages (describe below)                                                                                                        $100,000.00
l          Other emotional distress damages
                                                                                                             TOTAL AP) $613030.00
    G. Briefly describe plaintiff's injury, including the nature and extent of Injury:
L,                                                                                                                                                                    _,I
                                                                                CONTRACT CLAIMS
      O This action Includes a claim involving collection of a debt Incurred pursuant to a revolving credit agreement. Mass. R. Ci. P. 8.1 (a).
       I   Item#      E                                            Detailed Description of Each Claim                                                 I        Amount           I
      SC0001: 1/22/2 021                                                 ww.mass.gov/courts                                                  Date/Time Printed:07-23-2021 12.01:30
                           Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 3 of 22

       [.              l                                                                                                                              l                              I
       I.       ··--
                                                                                                                                                Total]                               I
Signature of Attomey/Unrepresented Plaintiff: /s/ Helen G. Lilsas                                                                     I I      ate 7/22/21:
    RELATED ACTIONS: Please provide the case number, case name, and county or any related actions pending In the Superior Court.

I                                                                                                                                                                                        I
                                                                 CERTIFICATION PURSUANT TO SJC RULE 1:18
  I hereby certify that I have com plied with requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute Resolution (SJC Rule 1:18) requiring that l provide my
  clients with information about court-connected dispute resolution services and discuss with them the advantages and disadvantages of the various methods of dispute resolution.
Signature of orney/Unrepresented Plaintiff:X /s/ Helen G. Litsas
                                                                                                                                      I I      Date: 7/22/21




    SC0001: 1/22/2021                                                www.mass.gov/courts                                                  Date/Time Printed:.07-23-2021 12.01:30
     Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 4 of 22
                                         1




                      COMMONWEALTH OF MASSACHUSETTS
MIDDLESEX, SS                                   SUPERIOR COURT
                                                DOCKET NO.

                                                )                 RECEIVED
                                                )
AHMEDEISSA,                                     )                             JP
                                                              7/23/2021
                        Plaintiff               )
                                                )
                                                )
V.                                              )
                                                )
                                                )
                                                )
LEDY ANCE LLC, KARSTEN FETTEN,                 )
MARCI PIPER and ALAN BARLOW,                   )
                  Defendants                   )
___________                                    )

                                       COMPLAINT

         The Plaintiff, AHMED EISSA ("Plaintiff' or "Mr. Eissa"), sets forth below his
Complaint based on the discriminatory and unlawful conduct of the Defendants,
LEDVANCE LLC ("Defendant LEDVANCE), Defendant KARSTEN FETTEN
("Defendant Fetten"), Defendant ALAN BARLOW ("Defendant Barlow"), and Defendant
MARCI PIPER ("Defendant Piper"). Instead of celebrating the joy of his newborn child
with a paternity leave from his employment, Mr. Eissa was subjected to discriminatory
and retaliatory actions by the Defendants, his former employer and his former
supervisors, for making and exercising his paternity leave request. In doing so, the
Defendants violated not only G.L. c. 151B, but also, Title VII, the Family Medical Leave Act
("FMLA"), and the Massachusetts Parental Leave Act ("MPLA") and their conduct also gives
rise to viable claims of intentional interference with advantageous relations, intentional
infliction of emotional distress and the breach of the implied covenant of good faith and fair
dealing.

                                       THE PARTIES

 1.     The Plaintiff, AHMED EISSA ("Plaintiff' or "Mr. Eissa"), is an individual
        residing at 285 3" St Apt. 242, Cambridge, MA 02142.

2.      The Defendant, LEDVANCE LLC ("Defendant Ledvance" or "the company"), is a
        Massachusetts corporation doing business in the Commonwealth of Massachusetts at 200
        Ballardvale Street, Wilmington, Massachusetts.

3.      The Defendant, KARSTEN FETTEN ("Defendant Fetten"), resides at 3 Parsons Road,
        West Newbury, MA 01985, and at all times, was employed by Defendant Ledvance as Mr.
        Eissa's supervisor.

4.      The Defendant, MARCI PIPER ("Defendant Piper"), resides at 179 Highland Street, South
        Hamilton, MA, 01936, and at all times, was employed by Defendant Ledvance as the
        Human Resources Manager.


                                                1
     Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 5 of 22




5.       The Defendant, ALAN BARL OW ("Defendant Barlow") resides at 200 Ballardvale Street,
         Wilmin gton, Massachusetts. , and at all times, was employed by Defendant Ledvance as
         Vice President of Human Resources.


                               FACTS AND CIRCUMSTANCES
6.       The Plaintiff refers to the allegations of Paragraphs 1 through 5 and by such
         reference repleads and incorporates them as though fully set forth here.
7.       The Plaintiff is a Middle-Eastern male and a native of Egypt who was hired on
         August 30, 2018, as a Product Manager for Defendant Ledvance. Strikingly,
         Defendant Ledvance's own personnel forms did not permit Mr. Eissa to identify
         himself as Middle-Eastern.
8.      For almost two years, Mr. Eissa worked as a dedicated and successful Product
        Manager for the Defendant, Ledvance LLC, a company that sells general lighting for
        lighting professionals as well as end users.
9.      On August 7, 2020, just after the birth of his first child and after returning from his
        paternity leave, Defendant Ledvance terminated Mr. Eissa, a loyal and stellar
        employee who successfully managed one of the company's largest portfolios and had
        surpassed the performance of his peers.
10.     In fact, a review of his personnel file reveals no performance or other disciplinary
        issues. Rather, he earned rave reviews for his performance, initiative and camaraderie
        from his colleagues. For example, one Ledvance colleague, and his first supervisor
        at the company, Mr. Omar Rivera, stated:


              "Ahmed reported to me directly and is an asset to the team and
              LEDVANCE. His product launch ratio compared to others
              excelled. He was more than willing to take on additional task and
              special projects. Where he excelled in deep set analysis. Ahmed is
              a very talented product manager and capable to taken on other
              roles. I would love to have him on my team again."


         Another colleague, named Ms. Diane Landry, described Mr. Eissa as follows:
              "I workedfor over a year with Ahmed at Ledvance as the Project
             Manager for his product launches. Ahmed is an outstanding
             Product Manager with deep knowledge of the Luminaire industry.
             His rational and business experience allowed him to successfully
             build the business case for each of his projects. What separated
             him to his colleagues was his willingness to work with me so I
             could properly help managed [sic]his projects allowing him to
             focus on his portfolio and launches. His product launches ratio
             was outstanding compared to others. No matter what the situation
             was Ahmed always stayed calm which made it very pleasant to
             work with him. I will truly miss him.    11




11.     The terms and conditions of Mr. Eissa's employment, however, changed drastically
        in November 2019 when, after the October 2019 birth of his child, he sought to take
        advantage of the company's twelve (12) week family/paternity leave benefit.



                                                  2
   Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 6 of 22




12.    While Defendant Ledvance's Human Resources representative, Defendant Piper,
       acknowledged that Mr. Eissa was entitled to twelve weeks of family leave under the
       company policy, she expressly discouraged Mr. Eissa from utilizing this benefit and
       discouraged him from being away from the company for that requested length of
       time. She also informed him that the company did not specifically have a paternity
       leave policy.
13.    No other male employee had previously taken a full twelve week paternity leave with
       Defendant Ledvance. When Mr. Eissa requested examples of prior employees
       accommodating the company's needs, Defendant Piper responded that there was
       "not much precedence" for male employees taking time off. Meanwhile, the
       Defendants have, upon information and belief, previously provided female
       employees with a full eight week, twelve week and/or otherwise uninterrupted
       maternity leave.
14.     Given the tenor of his discussion with Defendant Piper, Mr. Eissa grew concerned
        and then bluntly asked Defendant Piper whether exercising his rights to take
        paternity leave would have adverse consequences on his employment. In response,
        Defendant Piper obliquely responded that, "Some people might wonder if the
        company really needs an employee if the company subsists without the employee
        for such a long period of time."
15.    When Mr. Eissa had discussed his request for a full paternity leave with his
       supervisor, Defendant Fetten, on November 19, 2019, Mr. Eissa had explained to
       him that he, his wife and newborn child were planning to travel to Egypt during his
       leave so that they could access care and support from their extended family who
       reside overseas. Mr. Eissa also stated that he planned to return to work immediately
       after his twelve week leave of absence.
16.    In response, Defendant Fetten did not approve of Mr. Eissa's request for a full,
       uninterrupted twelve week paternity leave, but instead explored a part-time work
       option Defendant Piper had proposed where Mr. Eissa' s leave would include a 20-
       hour per week work arrangement.
1 7.   Mr. Eissa agreed to consider such a proposal as he was concerned that he would be
       terminated if he refused to do so. At no point did Mr. Eissa ask to work during his
       leave. Mr. Eissa showed willingness to work during his leave, but only after he_was
       instructed to do so. Mr. Eissa was concerned about his employment status, especially
       given his prior unsettling discussions with Defendants Piper and Fetten.
18.    During December 2019 and to keep the. lines of communication open, Mr. Eissa had
       inquired several times on the status of his leave request and was told by Defendant
       Fetten that it was still being worked on. After these attempts, Mr. Eissa subsequently
       shared with Defendant Fetten that he had purchased tickets to Egypt.
       Defendant Fetten asked for the exact travel dates and Mr. Eissa responded with the
       precise travel dates. Defendant Fetten stated that the company was still considering a
       part-time remote work arrangement and then threatened that Mr. Eissa's decision to
       book airfare "may have consequences" and that a "decision will have to be made"
       by the company. At the end of the conversation, Defendant Fetten made     a reference
       to Mr. Eissa's former supervisor, Mr. Omar Rivera, who was separated from the
       company after requesting a remote working arrangement. Such a reference made Mr.
       Eissa feel that his job was in jeopardy.

19.    On or about December 17, 2019, Mr. Eissa, deeply affected by such comments, then
       emailed and informed Defendant Barlow, the Vice President of Human Resources for



                                                3
  Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 7 of 22




      Defendant Ledvance and the individual overseeing all human resource and leave
      issues at Respondent Ledvance, about his unsettling comm unications with
      Defendants Fetten and Piper. regarding his leave request.

20.   Despite these reports and his detailed comm unication with Defendant Barlow, Mr.
      Eissa's concerns were not ameliorated by Defendant Barlow or Defendant Ledvance,
      but they were increased.

21.   Indeed, Defendant Barlow did not deny anything about Mr. Eissa' s communications
      with Defendants Piper and Fetten nor did he take any remedial action concerning
      Defendants Piper or Fetten's actions.

22.   Also, at no point did Defendant Barlow inform Mr. Eissa that he was not required to
      work during his leave nor was he told by Defendant Barlow that Defendant Piper's
      and F etten' s conduct, including but not limited to discouraging his full use of a
      twelve week paternity leave, was not only inappropriate but unlawful.
23.   Mr. Eissa had specifically asked for a full, uninterrupted paternity leave, a leave he
      was lawfully entitled to, and all his emails exchanged with the Defendants Piper and
      Barlow confirm his request and intentions. It was not- and never - a part-time work
      arrangement that translated into a request for intermittent leave. Mr. Eissa sought a
      full leave opportun ity so that he could truly experience the birth of his first child
      without the interruption of his demanding and time-consuming work obligations.
24.   Mr. Eissa's request for full leave was made from the beginning of his discussions
      with Defendant Ledvance, as his email to Respondent Barlow and all his previous
      comm unications with Human Resources clearly illustrate. Indeed, during their
      contemporaneous email exchanges and verbal discussions about this request, the
      Defendants never denied any of Mr. Eissa's representations about his leave request
      nor how he had described the Defendants' responses to this leave request.

25.   Defendant Fetten then informed Mr. Eissa that the company was going to approve an
      intermittent leave request, and Mr. Eissa would be expected to work
      remotely from Egypt on a part-time basis. Defendant Fetten indicated that Mr.
      Eissa would be assigned to a "support role" and another employee would manage
      his portfolio. Mr. Eissa's wages would also be reduced by 50% percent.

26.   Left with no other feasible option, Mr. Eissa acquiesced to the Defendants' proposal,
      a proposal that interfered with his ability to take a full leave for the birth of his child.
      Mr. Eissa, however, did not want to do anything that would jeopardize his job.

27.   Indeed, the remote work option was a substantial compromise on Mr. Eissa's part.
      His intent and plan was always to take an uninterrupted paternity leave, especially as
      this was for the birth of his first child. Defendant Piper, however, explicitly
      discouraged him from doing so and directed him instead to find an accomm odation
      that worked not for him, but for the company and his manager.

28.   During his leave, Mr. Eissa successfully performed his duties while working
      remotely from Egypt. To compensate for the different time zones, he would typically
      start his work day at 2:00 p.m., but he was always willing to work any hours to
      accomm odate the needs of the company. As a result of the COVID -19 pandemic, the
      company's entire US-based sales team worked remotely during the spring and
      summ er of 2020.



                                                  4
  Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 8 of 22




29.     The six-hour time difference between Egypt and the United States did not interfere
        in any way with Mr. Eissa's ability to complete his work because it actually made Mr.
        Eissa available earlier for his employer's China team and later for the US
        team.
30.     Contrary to Defendant Fetten's representation, Mr. Eissa did not take on a support
        role, but continued to primarily (and successfully) manage his $35 million dollar
        portfolio full-time. Despite this, the Defendants continued to pay Mr. Eissa a 50%
        reduced salary from his full-time wages. Defendant Fetten never checked in or
        followed up on his performance during Mr. Eissa's remote work arrangement in
        Egypt.
31.     Mr. Eissa also did not say anything at the time to the Defendants because he was
        understandably concerned about losing his job and he was willing to do whatever he
        could to make sure he had a job to return to following his leave, especially given
        that the Defendants had told him before his leave that his job could be in jeopardy.
        In addition, Defendant Fetten had also explicitly instructed Mr. Eissa to only report
        part-time hours, even though he continued to carry the full-time load of his work
        responsibilities.

32.    Mr. Eissa worked in dedicated fashion and continued to excel in his role. In fact, after
       the quality control department green-lighted a backlit panel product, it was Mr. Eissa
       who discovered that the wiring was wrong for emergency mode operation, a feature
       required by code. This was a critical contribution because had Mr. Eissa not
       discovered this defect, it would have resulted in product returns and significant
       revenue losses to the company. However, the Defendants hardly acknowledged Mr.
       Eissa's contribution and his resolution of a problem that should have been resolved by
       another department. Meanwhile, other employees have been recognized and
       highlighted for even lesser contributions.
33.    In addition, Mr. Eissa, while working remotely, also salvaged a $400,000.00
       controls sales opportunity by proposing a feasible technical solution to remedy the
       problem after the controls team had failed to propose a solution.
34.    In early March 2020, Defendant Fetten asked Mr. Eissa to cut his leave short even
       further by returning from Egypt to the United States early so that he could participate
       in a quarterly sales meeting held during the end of March.
3 5.   Once again, accommodating the Defendants' request, Mr. Eissa agreed to leave early
       from Egypt and leave his family behind. He, however, also requested assurances
       from the Defendants that he would be reimbursed for the additional financial costs
       incurred as a result of his early return.
36.    Defendants rejected this request and indicated that Mr. Eissa would have to cover
       these financial costs himself, an $800.00 airline fee to change the departure date.
       Subsequently, Mr. Eissa observed that Defendant Fetten was hostile towards Mr.
       Eissa for even making such a request
37.    When the COVID-19 pandemic then hit during the middle of March 2020, Mr.
       Eissa's return flight from Egypt was canceled and upon learning this information, he
       immediately informed Defendant Fetten via email explaining the situation and asking
       him for his direction.
38.    Mr. Eissa also told him he could reschedule a return flight for the United States,
       despite all the medical advice that he had received against doing that. Mr. Eissa also
       explained that he could continue working from Egypt until things improved.


                                                5
  Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 9 of 22




39.    In response, Defendant Fetten directed Mr. Eissa to "stay put" in Egypt. Shortly
       thereafter, Egypt suspended all international travel and Mr. Eissa was then prohibited
       from returning to the United States ("US").
40.    Due to the global pandemic and COVID-19 travel restrictions, Defendant Ledvance's
       quarterly meeting was also cancelled by the Defendants.
41.    During June 2020, Defendant Fetten and Mr. Michael Amthor ("Mr. Amthor"), a
       representative from Defendant Ledvance's Human Resources department, then had
       a call with Mr. Eissa to discuss the current prohibition of international air travel.
42.    During this discussion, Defendant Fetten cast inappropriate blame upon Mr. Eissa
       for being stuck in Egypt and was extremely aggressive with him. So much so that
       Mr. Amthor called Mr. Eissa immediately after this call ended to check in on him.
       Mr. Amthor expressed surprise that Defendant Fetten was so aggressive towards Mr.
       Eissa.
43.    Due to the pandemic, Mr. Eissa continued to work remotely until he was finally able
       to secure transportation back to the US on July 24, 2020.
44.    Upon his return to the US, Mr. Eissa continued to work remotely and underwent a
       two-week quarantine before returning to the office in person.
45.    Without any warning, discipline or other legitimate basis, the Defendants abruptly
       terminated Mr. Eissa- even before his two-week quarantine had expired. Such action
       violated Defendant Ledvance's own FMLA policy, which provided the following:
           "Upon returning from FMLA leave that has not exceeded 12 weeks or
           26 weeks in the case of injured service member leave or injured
           service member leave combined with leave for any other purpose
           under the FMLA, the employee will be returned to the same position
           that he or she left when the leave began, or to an equivalent position
           with equivalent pay, benefits and other terms and conditions of
           employment, in accordance with the conditions provided for such
           reinstatement under the FMLA. The employee will be reinstated
           without loss of employment rights or benefits that he or she earned
           accrued prior to the beginning of the leave, except to the extent such
           benefits were used or paid during the leave."
46.    Contrary to its own policy, Defendant Ledvance did not reinstate Mr.
       Eissa to the same position with the same benefits he had prior to taking
       his leave. Instead, with his abrupt and retaliatory termination within days
       of Mr. Eissa's return from leave, Defendant Ledvance removed Mr. Eissa
       from his employment entirely.
4 7.   During this time, the Defendants also announced that US-based employees could
       continue to work remotely until September 8, 2020.
48.    At the time of his termination, Mr. Eissa was the only employee from his Product
       Management team that was terminated from the company. Employees with less
       experience, less talent and less contributions than Mr. Eissa, however, were retained.
       Despite Mr. Eissa serving as one of the strongest performers on his team, he was the
       one targeted for termination. · ·
49.    The reasons given by the Defendants for Mr. Eissa's termination have been
       inconsistent and are a pretext for discrimination and/or retaliation for his paternity
       leave request. The Defendants have provided no information detailing any objective


                                                6
 Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 10 of 22




      criteria used to select the employees for the purported layoff nor have the· Defendants
      identified the employees involved in-these layoff decisions. Indeed, female employees
      at Defendant Ledvance who had been provided with a full eight and/or twelve week
      uninterrupted maternity leave were not included in Defendant Ledvance' s layoff.
50.   At the time of his termination, Mr. Eissa was one of seven employees terminated in
      a purported reduction in force, and to the best of his knowledge, Mr. Eissa was the
      only PM who was involuntarily terminated after taking a leave. Moreover, the PMs
      who were retained were Caucasian and had not previously taken a paternity or FMLA-
      related leave.

51.   To include a PM in a reduction of force does not make sense for Defendant
      Ledvance because the PM role is a position for which there is always demand for, and
      employers like the Defendants often find it difficult to fill.

52.   In fact, the demand for PMs is so great that the Defendants started moving engineers
      and bringing back retired employees just to fill the need. Indeed, Mr. Eissa was
      retained throughout two rounds of layoffs that occurred during 2019 because of this
      demand and because of his successful productivity.

53.   Additionally, these layoffs and the 2020 layoff, primarily affected support functions
      like manufacturing, engineering and supply chain positions, rather than positions like
      Mr. Eissa's.

54.   Indeed, within a couple of months of Mr. Eissa's termination, the Defendants sought
      to hire for his PM role.

55.   That hiring need has also continued presently as the Defendants have once again
      recently placed a second job posting seeking to fill Mr. Eissa's PM position. Indeed,
      they had also hired a PM back who had previously resigned.

56.   Mr. Eissa was not the most junior employee as Defendants suggest because many
      PMs were laterally moved from other departments. If seniority was truly considered
      as part of the reduction in force, Mr. Eissa was not the most junior employee. There
      were other PMs who were retained by the Defendants who were junior to Mr. Eissa.

57.   The other shifting reason the Defendants provide for Mr. Eissa's inclusion in the
      layoff was his performance. However, there is no documentation provided by the
      Defendants to support this claim. That is because none exists. Mr. Eissa excelled in
      his role and received favorable reviews for his performance from his colleagues and
      his superiors. He received no disciplinary action, reprimand or other negative
      performance review during his tenure with Defendant Ledvance.

58.   A copy of Mr. Eissa's personnel file and performance reviews only reinforces this
      conclusion because it contains no such disciplinary action nor any negative
      performance reviews. To claim that Mr. Eissa's s termination was based on his
      performance and experience as the Defendants allege is false, especially considering
      the fact that at the time of his termination, Mr. Eissa was managing one of the largest
      portfolios for Defendant Ledvance without any complaints and with stellar results.




                                                7
 Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 11 of 22




        There is no other conclusion to be made other than biased, discriminatory and
        retaliatory motives infected Defendant Ledvance's decision to terminate Mr. Eissa.


                                          COUNT ONE

                 G.L. 151B and Title VII (GENDER DISCRIMINATION)

                                Plaintiff v. Defendant Ledvance
59.     The Plaintiff refers to the allegations of Paragraphs 1 through 58, and by such
         reference repleads and incorporates them as though fully set forth here.
60.     The conduct of Defendant Ledvance, as set forth above, discriminated against the
        Plaintiff on the basis of gender in violation of G.L. 15 lB and Title VII.    ·-
61.     Said conduct of Defendant also constitutes a violation of public policy. According
        to the EEOC, "[w]hen an employer does grant maternity leave, the employer may
        not deny paternity leave to a male employee for similar purposes, e.g., preparing for
        or participating in the birth of his child or caring for the newborn. Accommodating
        female but not male employees constitutes unlawful disparate treatment of males on
        the basis of sex." EEOC Compliance Manual, Section 626.6 on Paternity Leave
62.     As a proximate result of Defendant's conduct, the Plaintiff has suffered and continues to
        suffer substantial losses in earning, job experience, retirement benefits, and other employee
        benefits that he would have received absent Defendant's discrimination.
63.     Furthermore, the Plaintiff has incurred additional costs and expenses due to the
        Defendant's discrimination.
64.     As a further proximate result of the above-mentioned acts, the Plaintiff has suffered
        humiliation, mental pain and anguish, all to the Plaintiff's damage.
65.     The above-mentioned acts of Defendant were willful, wanton, malicious, and
        oppressive, and justify the awarding of exemplary and punitive damages.

                                         COUNT TWO
      G.L. 105, § 105D (MASSACHUSETTS PARENT AL LEA VE ACT) ("MPLA ")
                                Plaintiff v. Defendant Ledvance


66.       The Plaintiff refers to the allegations of Paragraphs 1 through 65, and by such
          reference repleads and incorporates them as though fully set forth here.
67.       The conduct of Defendant, as set forth above, constitutes a violation of the
          Massachusetts Parental Leave Act ("MPLA").
68.       Here, Mr. Eissa met the eligibility requirements for leave under the MPLA and he
          was entitled to eight weeks of unpaid leave in their entirety under the MPLA.
          Indeed, the MPLA Guidelines provide that "An employer cannot refuse to grant
          MPLA leave on the grounds that doing so would constitute a hardship."
69.       Similarly, an employer may not treat an employee returning from leave less
          favorably than it treats other employees seeking to return to work after comparable
          absences for non-child birth reasons.



                                                    8
 Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 12 of 22




70.    As a proxim ate result of Defendant's conduct, the Plaintiff has suffered and continues to
       suffer substantial losses in earnin g, job experience, retirement benefits, and other
       employee benefits that he would have received absent Defendant's discrimination.
       Furth ermore, the Plaintiff has incurred additional costs and expenses due to the
       Defendant's discrimin ation.
71.    As a furth er proxim ate result of the above-mentioned acts, the Plaintiff has
       suffered humiliation, mental pain and anguish, all to the Plaintiffs damage.
72.    The above-mentioned acts of Defendant were willful, wanton, malicious, and
       oppressive, and justify the awarding of exemplary and punitive damages.

                                    COUNT THREE
         G.L. 151B and Title VII (Ethnic/National Origin Discrimination)
                            Plaintiffv. Defendant Ledvance


73.    The Plaintiff refers to the allegations of Paragraphs 1 through 72, and by
       such reference repleads and incorporates them as though fully set forth here.

74.    The conduct of Defendant, as set forth above, constitutes unlawful discrimination
       against the Plaintiff on the basis of ethnicity/national origin, in violation of G.L.
       151 B and Title VII.

75.   Said conduct of Defendant constitutes a violation of public policy.

76.   As a proximate result ofDefendant's conduct, the Plaintiff has suffered and continues
       suffer substantial losses in earning, job experience, retirement benefit, and other
       employee benefits that he would have received absent Defendant's discrimination.
       Furthermore, the Plaintiff has incurred additional costs and expenses due to the
       Defendant's discrimination.

77.     As a further proximate result of the above-mentioned acts, the Plaintiff has
        suffered humiliation, mental pain and anguish, all to the Plaintiffs damage.

78.     The above-mentioned acts of Defendant were willful, wanton, malicious, and
        oppressive, and justify the awarding of exemplary and punitive damages.

                                    COUNT FOUR
       G.L. 151B and Title VII (Aiding and Abetting & INTERFERENCE)
                  Plaintiff v. Defendants Fetten, Barlow and Piper


79.    The Plaintiff refers to the allegations of Paragraphs 1 through 78 and by
       such reference repleads and incorporates them as thoughfully set forth here.

80.    The conduct of Defendants, as set forth above, constitutes unlawful interference
       and/or aiding and abetting discrimination against the Plaintiff on the basis of gender
       and/or ethnic/national origin, in violation of G.L. 15 1B and Title VII.


                                               9
 Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 13 of 22




81.      Said conduct of Defendants constitutes a violation of public policy

82.      As a proximate result of Defendants' conduct, the Plaintiff has suffered and continues to
         suffer substantial losses in earning, job experience, retirement benefits, and other
         employee benefits that he would have received absent Defendants'
         discrimination. Furthermore, the Plaintiff has incurred additional costs and
         expenses due to the Defendants' discrimination.

83.      As a further proximate result of the above-mentioned acts, the Plaintiff has
         suffered humiliation, mental pain and anguish, all to the Plaintiffs damage.

84.      The above-mentioned acts of Defendants were willful, wanton, malicious, and
         oppressive, and justify the awarding of exemplary and punitive damages.

                                        COUNT FIVE
             Willful Violation of the Family Medical Leave Act ("FMLA")
              Plaintiff v. Defendants Ledvance, Piper, Barlow and Fetten


85.   The Plaintiff refers to the allegations of Paragraphs 1 through 84, and by
      such reference repleads and incorporates them as though fully set forth here

86.   The conduct of Defendants, as set forth above and including but not limited to the
      denial of the Plaintiffs leave request and interference with his leave
      request, constitutes a violation of the Family Medical Leave Act
      ("FMLA").

87.   Said conduct of Defendants constitutes a violation of public policy.

88.   As a proximate result of Defendants' conduct, the Plaintiff has suffered and
      continues to suffer substantial losses in earning, job experience, retirement benefits,
      and other employee benefits that he would have received absent Defendants'
      violation.

89.   As a further proximate result of the above-mentioned acts, the "Plaintiff has
      suffered humiliation, mental pain and anguish, all to the Plaintiffs damage.

90.   The above-mentioned acts of Defendants were willful, wanton, malicious, and
      oppressive, and justify the awarding of exemplary and punitive damages.

                                        COUNT SIX
      Willful Violation of the Family Medical Leave Act ("FMLA") - Retaliation
                   Plaintiff v. Defendants Ledvance, Piper and Fetten


91.   The Plaintiff refers to the allegations of Paragraphs 1 through 90, and by
      such reference repleads and incorporates them as though fully set forth here.



                                                  10
 Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 14 of 22




 92.    The conduct of Defendants, as set forth above and including but not limited to the
        adverse employment actions and unjustified termination of the Plaintiff
        immediately upon his return from leave, constitutes a violation of the Family
        Medical Leave Act (FMLA).

93.      Said conduct of Defendants constitutes a violation of public policy.



94. As a proxim ate result of Defendants' conduct, the Plaintiff has suffered and continues
    to suffer substantial losses in earning, job experience, retirement benefits, and other
    employee benefits that he would have received absent Defendants'
    violation.

95.     As a furth er proxim ate result of the above-mentioned acts, the Plaintiff has
         suffered humiliation, mental pain and anguish, all to the Plaintiff's damage.

96.     The above-mentioned acts of Defendants were willful, wanton, malicious, and
        oppressive, and justify the awarding of exemplary and punitive damages.


                             COUNT SEVEN
             INTENTIONAL INTERFERENCE WITH ADVANTAGEOUS/
                      CONTRACTUAL RELATIONSHIP

                      Plaintiff v. Defendants Barlow, Piper and Fetten

97.    The Plaintiff refers to the allegations of Paragraphs 1 through 96, and by such
       reference repleads and incorporates them as though fully set forth here.

98.    The Defendants' conduct reflected a deliberate effort by the Defendants to interfere
        with the Plaintiff's employment relationship with the Defendant Ledvance and
       knowingly attempted to induce a breaking of that relationship.

99.    The Defendants' interference, in addition to being intentional, was improper in motive
         or means.

100.    The Plaintiff was harmed by Defendants' actions.

101. As a direct and proximate result of the acts and omissions of Defendants, the Plaintiff
       has been and continues to be damaged in an amount to be determined at trial,
      including costs, interest and reasonable attorney's fees.




                                                   11
 Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 15 of 22




                             COUNT EIGHT
             INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

                    Plaintiff vs. Defendants Barlow, Piper and Fetten

102.   The Plaintiff incorporates by reference as if fully requested herein the allegations
       contained in paragraphs 1 through 101 of the Complaint.

103.   Defendants Barlow, Piper and F etten' s intimidating and intentional conduct reflected a
       deliberate effort by these Defendants to inflict emotional distress upon the Plaintiff.

104.   Defendants observed and were otherwise aware of the Plaintiffs emotional distress
       caused by Defendants' mistreatment, but such infliction of emotional distress
       nonetheless continued.

105.   The Plaintiff was harmed by Defendants' actions.

106.   As a proximate result of the above-mentioned acts, the Plaintiff has suffered
       humiliation, mental pain and anguish, all to the Plaintiffs damage.

107.   The above-mentioned acts of the Defendants were willful, wanton, malicious, and
       oppressive, and justify the awarding of exemplary and punitive damages


                         COUNT NINE
BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

                             Plaintiff vs. Defendant Ledvance

108.   The Plaintiff incorporates by reference as if fully requested herein the allegations
       contained in paragraphs 1 through 107 of the Complaint.

109.   Defendant Ledvance's conduct, as discussed above, reflected bad faith and
       breached the implied covenant of good faith and fair dealing between Defendant
       Ledvance and the Plaintiff.

110.   The Plaintiff was harmed by Defendant's actions.

111.   As a proximate result of the above-mentioned acts, the Plaintiff has suffered
       humiliation, mental pain and anguish, all to the Plaintiffs damage.

112.   The above-mentioned acts of the Defendants were willful, wanton, malicious, and
       oppressive, and justify the awarding of exemplary and punitive damages




                                                12
Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 16 of 22




                                     JURY DEMAND


The Plaintiff demands a trial by jury on all issues raised on all counts and in this Complaint.

WHEREFORE, the Plaintiff demands judgment against the Defendants as follows:

       a.      That actual damages be awarded to the Plaintiff;
       b.      That compensatory damages be awarded to the Plaintiff;
       c.      That punitive damages be assessed against the Defendants;
       d.      That the Plaintiff be awarded the costs of this action;
       e.      Reasonable attorney's fees; and
       f.      Such other and further relief as the court may deem necessary and proper.




                                                     Respectfully Submitted,
                                                     PLAINTIFF, AHMED EISSA,
                                                     By His Attorney,



                                                     /s/ Helen G. Litsas




                                                     Helen G. Litsas, BBO No. 644848 LAW
                                                     OFFICE OF HELEN G. LITSAS
                                                     22 Mill Street, Suite 408
                                                     Arlington, MA 024 7 6
                                                     TEL: 781-646-1518
                                                     CELL:617-596-5561
                                                     FAX: 781-643-1126




                                                13
                        Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 17 of 22




                                                  Commonwealth of Massachusetts

                   MIDDLESEX,SS.                                              TRIAL COURT OF THE COMMONWEALTH
                                                                              suPRIOR couRT
                                                                              CIVIL DOCKET No.
                                                                                                    DEPA55$5,
                                                                                                    218 '2V
                                                                                                              1?



                  V.

                    LVAg LLC.                         ,DEFENDANT(s)
                                       e«l                              SUMMONS

                  THIS SUMMONS Is DREcTe ro                LEDA LC.                                . (Defendant's name)

                  You are being sued. The Plaintiff(s) named above has started a lawsuit against you. A copy of the
                  Plaintiff's Co,;:[laint filed against you is attached to this summons and the original complaint has been
                  med in the      ID rk              SP@our. You MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.
     1.           You must respond to this lawsuit in writing within 20 days. If you do not respond, the court may decide
                 the case against you and award the Plaintiff everything asked for in the complaint. You will also lose the
                 opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect
                 to resolve this matter with the Plaintiff. If you need more time to respond, you may request an
                 extension of time in writing from the Court.
 2.              How to Respond. To respond to this lawsuit, you must file a written response with the court and mail a
                 copy to the Plaintiff's Attorney (or the Plaintiff, if unrepresented). You can do this by:
           a.    Filing your signed original response with the Clerk's Office for Clvil Business,    )Al;~ourt, ~ 1           n:.Js.~
          W)bun,M9          ol(address), by mail or inperson, AND
          b.     Delivering or mailing a copy of your response to the Plaintiff's Attorney/Plaintiff at the following
                 address: 22 ML T,, ±±4C&, LINGS,M av7
3.               What to include in your response. An "Answer" is one type of response to a Complaint. Your Answer
                must state whether you agree or disagree with the fact(s) alleged in each paragraph of the Complaint.
                Some defenses, called affirmative defenses, must be stated in your Answer or you may lose your right to
                use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
                based on the same facts or transaction described in the Complaint, then you must include those claims
                in your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this
                lawsuit. If you want to have your case heard by a jury, you must specifically request a jury trial in your
                Answer or in a written demand for a jury trial that you must send to the other side and file with the
                court no more than 10 days after sending your Answer. You can also respond to a Complaint by filing a
                "Motion to Dismiss," if you believe that the complaint is legally invalid or legally insufficient. A Motion
                to Dismiss must be based on one of the legal deficiencies or reasons listed under Mass. R. Civ. P, 12. If
                you are filing a Motion to Dismiss, you must also comply with the filing procedures for "Civil Motions"
                described in the rules of the Court in which fhe complaint was flied, available at
                www.mass.gov.courts/case-legal-res/rules of court.
               Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 18 of 22




4.          Legal Assistance. You may wish to get legal help from a lawyer. If you cannot get legal help, some basic
            information for people who represent themselves is available at www.mass.gov/courts/selfhelp.
5.          Required information on all filings: The "civil docket number" appearing at the top of this notice is the
        case number assigned to this case and must appear on the front of your Answer or Motion to Dismiss.
        You should     tefer to yourself as the "Defendant."

        witness Hon. Judith Fabricant, Chet Justice n          hosr_               l&_,2o2              i
                                                                                                                4
                                                                                                                j




       Note: The number assigned to the Complaint by the Clerk-Magistrate at the beginning of the lawsuit should be Indicated on the
       summons before it is served on the Defendant.
                                                                                                            #       t
                                                                                    t   •




                                            PROOF OF SERVICE OF PROCESS

               l hereby certify that on, 2O_,l served a copy of this summons,
                                                      in this summons, in the
      together with a copy of the complaint in this action, on the de
                                                                    fendant named
      following manner (See Mass. R.        Ci.
                                       P. 4(d)(1-5)):




                                                                       Signature.



     N.B.       TO PROCESS SERVER:


                PLEASE ENTERTHE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX - BOTH
     ON THE ORIGINAL SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON THE DEFENDANT.




                                                                                                                        ,20.
                                                                                                                               I
                      Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 19 of 22




                                               Commonwealth of Massachusetts
                                                                           TRIAL COURT OF THE COMMONWEALTH
                M IDDLE SEX, SS.                                           suPERoR couRr gEPATE!"!{g¢
                                                                           CL DOCKET No.218cVolo

                                                    , PLAINTIFF(S),



                                                    , DEFENDANT(S)

                                                                      SUMMONS


                THIs suMMoNs Is DREcTe ro                 ksrw ~rsh                               . (Defendant's name)


                You are being sued. The Plaintiff(s) named above has started a lawsuit against you. A copy of the
                Plaintiffs Complaint filed against you is attached to this summons and the original complaint has been
                nea in +MoDLsx               a@court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.

        1.      You must respond to this lawsuit in writing within 20 days. If you do not respond, the court may decide
                the case against you and award the Plaintiff everything asked for in the complaint. You will also lose the
                opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect
                to resolve this matter with the Plaintiff. If you need more time to respond, you      may request an
                 extension of time in writing from the Court.
         2.      How to Respond. To respond to this lawsuit, you must file a written response with the court and mail a
                 copy to the Plaintiffs Attorney (or the Plaintiff, if unrepresented). You can do this by:
                 no your stone4 or@at response win ne cer&s once tor ct sosmess. !%?2gcour, 2» f2
ch, Wba, MA o@o] (address). by mail or in person,AD
     b. Delivering or mailing a copy of your response to the Plaintiffs Attorney/Plaintiff at the following
        address:_¢2 MLS,,No, NA2NSsTy, 4oz?o.
         3.      What to   include in your response. An "Answer" is one type of response to a Complaint. Your Answer
                 must state whether you agree or disagree with the fact(s) alleged in each paragraph of the Complaint.
                 Some defenses, called affirmative defenses, must be stated in your Answer or you may lose your right to
                 use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
                 based on the same facts or transaction described in the Complaint, then you mustinclude those claims
                 in your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this
                 lawsuit. If you want to have your case heard by a jury, you must specifically request a jury trial in you
                 Answer or in a written demand for a jury trial that you must send to the other side and file with the
                 court no more than 10 days after sending your Answer. You can also respond to a Complaint by filing a
                 "Motion to Dismiss," if you believe thatthe complaint is legally invalid or legally insufficient. A Motion
                 to Dismiss must be based on one of the legal deficiencies or; reasons listed under Mass. R. Civ. P. 12. If
                  you are filing a Motion to Dismiss, you must also comply with the filing procedures for "Civil Motions"
                  described in the rules of the Court in which the complaint was filed, available at
                  www.mass.gov.courts/case-legal-res/rules of court.
              Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 20 of 22




4.          Legal Assistance. You may wish to get legal help from a lawyer. If you cannot get legal help, some basic
            information for people who represent themselves is available at www.mass.gov/courts/selfhelp.
s.          Required information on all filings: The "civil docket number" appearing at the top of this notice is the
            case number assigned to this case and must appear on the front of your Answer or Motion to Dismiss.
        You should     tefer to yourself as the "Defendant."
        witness Hon. Judith Fabricant, chiet Justice on        /hGosr_                  I&,2024           -



                                                                                                 L,

                                                                       f    ¥   «




       Note: The number assigned to the Complaint by the Clerk-Magistrate at the beginning of the lawsuit should be indicated on the
       summons before it Is served on the Defendant.
                                                                                         ·t                   $   t




                                            PROOF OF SERVICE OF PROCESS

               l hereby certify that on, 2O,l served a copy of this summons,
      together with a copy of the complaint in this action, on the defendant named in this summons, in the
      following manner (See Mass. R. Ci. P. 4(d)(1-5)):




     Dated:. , 2O                                                          Signature.



     N.B.       TO PROCESS SERVER:


                PLEASE ENTERTHE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX -BOTH
     ON THE ORIGINAL SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON THE DEFENDANT.




                                                                                                                      ,20.-
                  Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 21 of 22




                                             Commonwealth of Massachusetts
            MIDDLESEX,SS.                                               TRIAL COURT OF THE COMMONWEALTH
                                                                        SUPERIOR COURT DEPARTN5)I,,
                                                                        CIVIL DOCKET NO.Z1        8c
                                                                                               '9le.
                                                 , PLAINTIFF(S),

            V.

             LvA LL,tErENDANT(s)
                                            al                     SUMMONS

            THIS SUMMONS        Is DIRECTED To/hA»             Bew                            . (Defendant's name)

            You are    being sued. The Plaintiff(s) named above has started a lawsuit against you. A copy of the
            Plaintiff's Complaint filed against you is attached to this summons and the original complaint has been
            fled mn+Ml     S£y SPg@ court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.
 1.         You must respond to this lawsuit in writing within 20 days. If you do not respond, the court may decide
            the case against you and award the Plaintiff everything asked for in the complaint. You will also lose the
                                                                                         in
            opportunity to tell your side of the story. You must respond to this lawsuit writing even if you expect
            to resolve this matter with the Plaintiff. If you need more time to respond, you may requestan
            extension of time in writing from the Court.
 2.        How to Respond. To respond to this lawsuit, you must file a written response withthe court and mail a
           copy to the Plaintiff's Attorney (or the Plaintiff, ifunrepresented). You can do this by:
      a.   Filing your signed original response withthe Clerk's Office for Civil Business, DP5curt,                  2>        Toe«-.
Wl'lo,P 1&oL (address),                 by mail or in person,AND                             5Gar_
      b.   Delivering or mailing a copy ofyour response to the Plaintiff's Attorney/Plaintiff at the following
           address:22Mr.,4to9,
                                        l
                                                      AeUN6TA), /4/          o27 .
3.         What to in clude in your response. An "Answer" is one type of response to a Complaint. Your Answer
           must state whether you agree or disagree with the fact(s) alleged in each paragraphof the Complaint.
           Some defenses, called affirmative defenses, must be stated in yourAnswer or you may lose your rightto
           use them in court. If you have any claims againstthe Plaintiff (referred to as counterclaims) that are
           based on the same facts or transaction described in the Complaint, then you must include those claims
           in your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this
           lawsuit. If you want to have your case heard by a jury,  you must specifically request a jury trial in your
           Answer or in a written demand for a jury trial that you must send to the otherside and file with the
           court no more than 10 days after sending yourAnswer. You can also respond to a Complaint by filing a
           "Motion to   Dismiss," if you believe that the complaint is legally invalid or legally insufficient. A Motion
           to Dismiss must be based on one of the legal deficiencies or reasons listed under Mass.         R. Civ. P. 12. If
           you are filing a Motion to Dismiss, you must also comply with the filing procedures for "Civil Motions"
           described in the rules of the Court in which the complaint was filed, available at
           www. mass.gov.courts/case-legal-res/rules of court.
               Case 1:21-cv-11515-NMG Document 1-1 Filed 09/15/21 Page 22 of 22




4.       Legal Assistance. You may wish to get legal helpfrom a lawyer. If y ou cannot get legal help, some basic
        information for people who represent themselves is available at www .mass.gov/courts/selfhelp.
5.      Required information on all filings: The "civil docket number" appearing at the top of this notice is the
        case number assigned to this case and must appear on the front of your Answer or Motion to Dismiss.
        You should refer to yourself as the "Defendant."

        witness Hon. JudithFabricant, chief Justice on/hGosr_                       I&,2024              ,l




       Note:   The numberassigned to the Complaint by the Clerk-Magistrate at the beginningof the lawsuit should be indicated on the
       summons before it is served on the Defendant.
                                                                                    $   n    '             #   t




                 l hereby certify that on,                                                         2d a copy of this summons,
      together with a copy of the complaint ir                                              1amed in this summons, in the
      following manner (SeeMass. R.          Ci.

     Dated. , 2O_



     N.B.       TO PROCESS SERVER:


            PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX - BOTH
     ON THE ORIGINAL SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON THEDEFENDANT.




                                                                                                                   ,20.-
                                               4
